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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION

 MARY OGUNTODU                              §
         Plaintiff,                         §
                                            §
 v.                                         §                Cause No. 7:21-cv-00011-O
                                            §
 KARA PAINTER, ET AL.,                      §
      Defendants.                           §
                                            §

      DEFENDANTS PAINTER AND PETERSON’S BRIEF IN SUPPORT OF MOTION
                        FOR SUMMARY JUDGMENT

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                                                                     v
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                      FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION

MARY OGUNTODU                                 §
        Plaintiff,                            §
                                              §
v.                                            §              Cause No. 7:21-cv-00011-O
                                              §
KARA PAINTER, ET AL.,                         §
     Defendants.                              §
                                              §

     DEFENDANTS PAINTER AND PETERSON’S BRIEF IN SUPPORT OF MOTION
                       FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendants Kara Painter and Cheteigra Peterson, by and through the

Office of the Attorney General for the State of Texas and move for summary judgment on all claims

brought against them by Plaintiff. In support of their motion, Defendants offer the following:

                                          I.
                                 STATEMENT OF THE CASE

        This is a civil rights suit stemming from the death of Texas Department of Criminal Justice

(“TDCJ”) inmate, Joseph Oguntodu (“Oguntodu”). Oguntodu, who was serving a life sentence for

capital murder, lived in the Expansion Cell Block (or ECB) of TDCJ’s James A. Allred Unit. On

March 7, 2019, Oguntodu was discovered nonresponsive in his cell. After responders were unable

to resuscitate him Oguntodu was pronounced dead on the scene. Plaintiff contends that two TDCJ

employees were deliberately indifferent to a serious risk of harm to Oguntodu’s safety, resulting in

his death.

        Plaintiff specifically alleges that Defendants Painter and Peterson “knew of and disregarded

an excessive risk to Mr. Oguntodu’s health or safety.” ECF No. 1 at 9 and 11. Plaintiff alleges that

these acts or omissions violated decedent’s rights secured by the Eighth Amendment.
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        Plaintiff seeks personal injury damages, pain and suffering, funeral and burial expenses,

exemplary damages and attorney fees.

        Defendants filed their Answer to Plaintiff’s Complaint on May 1, 2021, asserting their

entitlement to qualified immunity. ECF No. 7. Defendants now file this motion for summary

judgement on the issue of qualified immunity, seeking to dismiss all claims against them in this suit.

                                         II.
                            MOTION FOR SUMMARY JUDGMENT

        Defendants now move, pursuant to Federal Rule of Civil Procedure 56, for summary

judgment in their favor on all of Plaintiff’s claims. Plaintiff has presented no evidence supporting

her assertion that Joseph Oguntodu’s rights, as protected by the U.S. Constitution, were violated by

Defendant Painter or Peterson. Therefore, there is no genuine issue as to any material fact and

Defendants are entitled to judgment as a matter of law.

        In support of their Motion for Summary Judgment, Defendants have attached the following

evidence by reference to the Appendix to Defendants’ Motion for Summary Judgment:

        Defendants’ Exhibit A:      Emergency Action Center Report No. I-03957-03-19-JA (App at
                                    1-25)1;

        Defendants’ Exhibit B:      Deposition Excerpts of Kara Painter (App. 25-40);

        Defendants’ Exhibit C:       TDCJ Surveillance Video D-pod.


                                           III.
                                 RELEVANT MATERIAL FACTS2


        1
           Defendants are submitting the Incident Review findings, the various timelines compiled by Major
Nicholas Flood, and the witness statements/interviews from Emergency Action Center report No. I-03957-
03-19-JA. Defendants have withheld materials which they believe are irrelevant to the issue(s) before the
Court. Defendants will immediately supplement with all withheld portions at the Courts request. Defendants
have no objection to the Plaintiff supplementing any portions of the report.
         2 Defendants are accepting these facts as true for Summary Judgment purposes only, and expressly

reserves the right to contest these facts at trial, if necessary.
                                                    2
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       On March 7, 2019, Joseph Oguntodu and Christopher De La Garza, both inmates in

TDCJ’s custody, were assigned to live together in Cell 2-22, D-Pod Expansion Cell Block (ECB) of

the James V. Allred Unit. App at 33-34. Correctional Officer V Kara Painter began her shift at the

Allred Unit Expansion Cell Block (ECB) on D-Pod at approximately 5:30am. App at 34. She was

assigned to D-Pod with CO III Julio Varela. Upon arrival at D-Pod, she began her duties for the day

which included the following: conducting count at 8:30am and 12:30pm (App at 31, 33-34.),

escorting the pill nurse on her rounds to Cell 2-22 (Id.), feeding Cell 2-22 (Id.), picking up empty

trays from Cell 222 (Id.) and opening the food slot of Cell 2-22 to give a hypocaloric snack at

11:55am. (App at 75.).

       At approximately 1:00pm Defendant Painter and Officer Varela were relieved by

Correctional Officer Daniel Smith and Defendant Correctional Officer Cheteigra Peterson. App at

31. Officer Smith conducted security checks at 1:17pm, and 3:17pm. A security check consists of

correctional staff conducting an inspection of the physical premises of the housing area. App at 44-

46. Officer Smith did not report anything unusual during either check. App at 32. Smith also fed the

evening meal at 4:25pm, picked up the meal trays at 4:53pm and delivered a hypocaloric snack to cell

2-22 at 5:02pm. Id. Before exiting D-pod, Smith conducted a final security check at 6:06pm. Id.

       At 6:26pm Inmate De La Garza calls Correctional Officer Dakota Schmidt to cell 2-22 and

informs him that he (De La Garza) killed his cellmate (Oguntodu). Dakota Schmidt then initiates the

Incident Command System (“ICS”) summoning supervisors and emergency staff. App at 31.

       In response to the ICS alert, Registered Nurse Franklin Lee arrived at cell 2-22 at 6:45pm

and found Oguntodu non-responsive but with a faint pulse. App at 22. Later during the assessment




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Nurse Lee was unable to locate a pulse and began administering CPR. Id. At 6:56pm, Emergency

Medical Services arrived and ceased life-saving efforts at 7:07pm. App at 3.

                                                 IV.
                                            ISSUES OF LAW

1.         Whether Defendants Painter and Peterson are entitled to Qualified Immunity from
           Plaintiff’s 42 U.S.C. § 1983 constitutional claim?

2.         Whether Defendants were deliberately indifferent to a serious risk of harm to Joseph
           Oguntodu from his cellmate in violation of his 8th Amendment Rights?

                                                  V.
                                              ARGUMENT

A.         Summary Judgment Standard

           Motions for summary judgment are authorized by Rule 56 of the Federal Rules of Civil

Procedure. These motions permit the court to resolve lawsuits without the necessity of trials if there

is no genuine dispute as to any material facts and the moving party is entitled to judgment as a matter

of law.3

           Rule 56(e) of the Federal Rules of Civil Procedure provides in part:

           When a motion for summary judgment is made and supported as provided in this
           rule, an adverse party may not rest upon the mere allegations or denial of the adverse
           party’s pleading, but the adverse party’s response, by affidavits or as otherwise
           provided in this rule, must set forth specific facts showing that there is a genuine
           issue for trial. If the adverse party does not so respond, summary judgment, if
           appropriate, shall be entered against the adverse party.4

           Thus, when a motion for summary judgment is filed and is accompanied by competent

supporting evidence, a court may grant the motion if the opposing party fails to present




           FED. R. CIV. P. 56(e); Fields v. City of South Houston, Texas, 922 F.2d 1183, 1187 (5th Cir. 1991);
           3

Lodge Hall Music, Inc. v. Waco Wranglery Club, Inc., 831 F.2d 77, 79 (5th Cir. 1987).
        4 Rule 56(e), Federal Rules of Civil Procedure.


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controverting evidence.5 Summary Judgment is appropriate if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with affidavits, if any, show there is no genuine issue

as to any material fact and that the moving party is entitled to a judgment as a matter of law. Fraire v.

City of Arlington, 957 F.2d 1268, 1273 (5th Cir. 1992), cert denied, 506 U.S. 973 (1992); Hans v.

Transcontinental Gas Pipe Line Corp., 953 F.2d 996, 997 (5th Cir. 1992); Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). Federal summary judgment procedure requires the court to “pierce

through the pleadings and their adroit craftsmanship to reach the substance of the claim.” Tacon

Mechanical Contractors v. Aetna Casualty & Surety Co., 65 F.3d 486, 488 (5th Cir. 1995).

        In the usual case, the party who seeks summary judgment must show by affidavit or other

evidentiary materials that there is no genuine dispute as to any fact material to resolution of the

motion. Celotex Corp.v. Catrett, 477 U.S. 317, 325 (1986); Anderson, 477 U.S. at 250 n.4. While the

party moving for summary judgment must demonstrate the absence of a genuine issue of material

fact, they need not negate the essential elements of the nonmovants’ case. Little v. Liquid Air Corp.,

37 F.3d 1069, 1075 (5th Cir. 1994), citing Celotex Corp., 477 U.S. at 323. To satisfy this burden, the

movant must either submit evidentiary documents that negate the existence of some material

element of the nonmoving party’s claim or defense or, if the crucial issue is one for which the

nonmoving party will bear the burden of proof at trial, merely point out that the evidentiary

documents in the record contain insufficient proof concerning an essential element of the




         5 Rule 56(e) only requires the summary judgment nonmovant to submit affidavits and other summary

judgment proof when the original motion is supported by proper affidavits or other summary judgment
proof. See E.E.O.C. v. Brown & Root, Inc., 688 F.2d 338, 341 n.2 (5th Cir. 1982); see also Orthopedic & Sports
Injury Clinic v. Wang, 922 F.2d 220, 225 (5th Cir. 1991), (holding that unsupported affidavits setting forth
ultimate or conclusory facts and conclusions of law are insufficient to either support or defeat a motion for
summary judgment).
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nonmoving party’s claim or defense. Celotex Corp., 477 U.S. at 325; Stults v. Conoco, Inc., 76 F.3d 651,

656 (5th Cir. 1996).

        Once the moving party has carried his burden, the burden shifts to the nonmoving party to

show that summary judgment is not appropriate. Exxon Corp. v. Baton Rouge Oil, 77 F.3d 850, 853

(5th Cir. 1996); Stults, 76 F.3d at 656. The nonmoving party cannot discharge this burden by

referring to the mere allegations or denials of the nonmoving party’s pleadings; rather that party

must, either by submitting opposing evidentiary documents or by referring to evidentiary documents

already in the record, set out specific facts showing that a genuine issue as to a material fact exists.

Celotex Corp., 477 U.S. at 324; Stults, 76 F.3d at 656; Little, 37 F.3d at 1075. Nonmovants are required

to identify the specific evidence in the record and to articulate the precise manner in which that

evidence supports their claim. Stults, 76 F.3d at 656; Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir.

1994), cert. denied sub nom, Forsyth v. Vines, 513 U.S. 871 (1994). The Court cannot assume, in the

absence of any proof, that the nonmoving party could or would prove the necessary facts. McCallum

Highlands v. Washington Capital DUS, Inc., 66 F.3d 89, 92 (5th Cir. 1995); and Little, 37 F.3d at 1075.

        “A qualified immunity defense alters the usual summary judgment burden of proof.” Brown v.

Callahan, 623 F.3d 249, 253 (5th Cir. 2010). Where, as in the instant case, an official pleads the

defense, the burden then shifts to the plaintiff, who must rebut the defense by establishing a genuine

fact issue as to whether the official’s allegedly wrongful conduct violated clearly established law. Id.

The plaintiff bears the burden of negating qualified immunity and that burden is not satisfied

through a mere showing of “some metaphysical doubt as to the material facts” or by “conclusory

allegations,” “unsubstantiated assertions,” or “only a scintilla of evidence.” Id.; Duffie v. United States,

600 F.3d 362, 371 (5th Cir. 2010) (internal quotation marks and citation omitted). On summary


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judgment, “the plaintiff can no longer rest on the pleadings and the court looks to the evidence

before it.” McClendon v. City of Columbia, 305 F.3d 314, 323 (5th Cir. 2002).

B.      Qualified Immunity Standard

        Defendants were employed by TDCJ-CID at all times relevant to the allegations in Plaintiff’s

complaint. Defendants asserted their entitlement to qualified immunity in their answers and are

entitled to the protections afforded by that affirmative defense.

        Qualified immunity “shields government officials from liability when they are acting within

their discretionary authority and their conduct does not violate clearly established statutory or

constitutional law of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982). “Put simply, qualified immunity protects all but the plainly incompetent or those

who knowingly violate the law.” Mullenix v. Luna, 136 S. Ct. 305, 308 (2015) (internal quotation

omitted). Once a state official has asserted qualified immunity, the burden shifts to the plaintiff to

show that qualified immunity does not bar her recovery. Kovacic v. Villarreal, 628 F.3d 209, 211 (5th

Cir. 2010). Qualified immunity is immunity from suit and not a mere defense to liability. Mitchell v.

Forsyth, 472 U.S. 511, 526 (1985).

        The qualified immunity analysis has two prongs, which can be taken in either order. Pearson v.

Callahan, 555 U.S. 223, 236 (2009). The first prong asks whether the facts, taken in the light most

favorable to the party asserting the injury, show the officer’s conduct violated a federal right. Tolan v

Cotton, 134 S. Ct. 1861, 1865 (2014). The second prong asks “whether the defendant’s actions

violated ‘clearly established statutory or constitutional rights of which a reasonable person would

have known.’” Id. (citing Hope v. Pelzer, 536 U.S. 730, 739 (2002)). A right is clearly established if the

law is clear in a particularized sense, such that a reasonable official would be put on notice that her


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conduct is unlawful and violates the right in question. Wernecke v. Garcia, 591 F.3d 386, 392–93 (5th

Cir. 2009). The “clearly established law should not be defined at a high level of generality,” but must

instead be “particularized to the facts of the case.” White v. Pauly, 137 S. Ct. 548, 552 (2017) (internal

quotations omitted). “Otherwise, plaintiffs would be able to convert the rule of qualified immunity

into a rule of virtually unqualified liability simply by alleging violation of extremely abstract rights.”

Id. (internal quotations omitted).

        “If the defendant’s actions violated a clearly established constitutional right, the court then

asks whether qualified immunity is still appropriate because the defendant’s actions were ‘objectively

reasonable’ in light of ‘law which was clearly established at the time of the disputed action.’” Brown,

623 F.3d at 253.     “In essence, a plaintiff must allege facts sufficient to demonstrate that no

reasonable officer could have believed his actions were proper.” Id. Regardless of a defendant

official’s mistaken assumptions, if his conduct is determined to have been objectively reasonable, he

is entitled to qualified immunity. Mouille v. City of Live Oak, 977 F.2d 924, 928 (5th Cir. 1992) (citing

Spann v. Rainey, 987 F.2d 1110, 1114 (5th Cir. 1993)); Valencia v. Hicks, 981 F.2d 1440, 1448 (5th Cir.)

cert. denied, 113 S.Ct. 2998 (1993); Anderson v. Creighton, 483 U.S. 635, 639 (1987); Streetman v. Jordan,

918 F.2d 555, 556 (5th Cir. 1990). Thus, officials are immune if their “actions could reasonably have

been thought consistent with the rights they are alleged to have violated.” Creighton, 483 U.S. at 638.

“Each Government official, his or her title notwithstanding, is only liable for his or her own

misconduct” under Section 1983. Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).

        In analyzing whether a defendant is entitled to qualified immunity, the first issue is whether

Plaintiff can survive summary judgment on his underlying constitutional claims. There are no

genuine issues of material fact concerning Plaintiff’s constitutional claims under 42 U.S.C. § 1983 for


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deliberate indifference as evidenced in this pleading. There is no evidence that Defendants were

subjectively aware of and disregarded a risk to Oguntodu’s safety. In fact, Defendants had no

interaction with Oguntodu prior to March 7, 2019. For these reasons, Defendants’ entitlement to

qualified immunity is preserved and summary judgment should be granted in their favor.

        I.       There Are No Genuine Issues of Material Fact to Support Plaintiff’s
                 Deliberate Indifference Claim Under 42 U.S.C. § 1983.

        Deliberate indifference under the Eighth Amendment requires a showing of “subjective

recklessness” as used in criminal law. Farmer v. Brennan, 511 U.S. 825 (1994). Under this standard, “a

prison official cannot be found liable under the Eighth Amendment . . . unless the official knows of

and disregards an excessive risk to inmate health or safety; . . . the official must both be aware of

facts from which the inference could be drawn that a substantial risk of serious harm exists, and he

must also draw the inference.” Id. at 835; see also Reeves v. Collins, 27 F.3d 174, 175 (5th Cir. 1994).

        “Deliberate indifference is an extremely high standard to meet.” Domino v. Texas Dep't of

Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001); McCormick v. Stalder, 105 F.3d 1059, 1061 (5th Cir.

1999). “To violate the Cruel and Unusual Punishment Clause, a prison official must have a

‘sufficiently   culpable   state   of   mind.’” Hall       v.   Thomas, 190    F.3d   693,   697    (5th   Cir.

1999) (quoting Farmer, 511 U.S. at 834). The “applicable mens rea of deliberate indifference demands

subjective knowledge of a substantial health risk.” Gobert v. Caldwell, 463 F.3d 339, 348 (5th Cir.

2006). Thus, “[t]he deliberate indifference standard is a subjective inquiry; the plaintiff must establish

that the [officials] were actually aware of the risk, yet consciously disregarded it.” Lawson v. Dallas

Cnty., 286 F.3d 257, 262 (5th Cir. 2002). A defendant’s conduct must rise “to the level of egregious

conduct.” Gobert v. Caldwell, 463 F.3d 339, 351 (5th Cir. 2006). Whether a prison official had the

requisite knowledge of a substantial risk is a question of fact . . . and a factfinder may conclude that a

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prison official knew of a substantial risk from the very fact that the risk was obvious. Farmer, 511

U.S. at 842. So, a prison official must show that he or she was “unaware even of an obvious risk to

inmate health or safety.” Id. at 844.

        In addition to the above cited cases, Texas Federal District Courts and the Fifth Circuit have

decided several cases that provide factual and substantive context for the allegations presented by

Plaintiff in this case. More specially, Thompson and Boyd provide both persuasive and binding

authority on the determination of whether a defendant is entitled to qualified immunity.

        In Thompson v. Campos, No. 16-11121, 691 F. App’x 193 (5th Cir. 2017), an offender died

tragically of a twisted small intestine, that became gangrenous, causing sepsis. The correctional staff

responsible for observing Thompson were disciplined for failing to follow procedures concerning

15-minute checks. The district court held that the guards were entitled to qualified immunity because

there were no facts showing the officers were aware of the medical issues suffered by Thompson.

Each guard provided a sworn statement attesting that he or she saw nothing out of the ordinary in

Thompson’s appearance or behavior on the day of death. Id. at 3. While the court notes that the

dereliction of duties was inexcusable, it was not enough to impart liability on these defendants. The

same can be said for Defendants in this case.

        In Boyd, the grandmother of decedent Terreth White, brought suit under 42 U.S.C. § 1983

alleging that several TDCJ officers and nursing staff were deliberately indifferent to White’s health

which resulted in his death. Boyd v. Grooms, Civil Action No. H-08-2371, 2009 U.S. Dist. LEXIS

89693, at *1 (S.D. Tex. Sept. 29, 2009). Prior to being incarcerated, White suffered from borderline

mental retardation, seizures and schizoaffective disorder and was considered disabled. Id. at *3. The

TDCJ staff, UTMB-Managed Care healthcare staff and other inmates knew that White suffered


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from seizures. Id. at *4. When White suffered a seizure, he would collapse to the ground and lose

consciousness for brief periods of time. Id.

       On August 1, 2006, an inmate saw White suffer a significant seizure that resulted in him

falling to the floor of his cell, unconscious. Id. at *5. Following the August 1st seizure, offenders

housed on White’s wing constantly advised defendants of White’s condition and requested constant

supervision and medical care, which the defendants refused to provide. Id. On August 4, 2006,

White suffered 4 or 5 seizures in his cell while the defendants refused to provide medical care, even

after several inmates continuously yelled for help. Id. at *6. Early in the morning of August 5, 2006,

one guard expressed that something was wrong with White and tried to get help for him. Id. at *7.

White was taken out of his cell to the medical unit for treatment, where it was determined that he

had been dead for some time. Id. From August 1–5, 2006, White suffered several seizures while lying

naked on his cell floor while officers provided no medical care. Id. at *6. Defendants moved for

summary judgment on the basis of qualified immunity. Id. at *27. The Court held that it was possible

that a reasonable juror could infer that defendants may have been aware that White was in imminent

danger but that they nevertheless acted unreasonably (with deliberate indifference) and denied

Defendants’ Motion for Summary Judgment. Boyd. at *28-29.

                a. Unlike the Defendants in Boyd, there is no competent summary
                   judgment evidence that Defendants Painter or Peterson were subjectively
                   aware of a serious risk to Oguntodu’s health or safety under the
                   deliberate indifference standard.

       In this case, Plaintiff claims that Defendants had actual knowledge of the serious risk of

harm to Joseph Oguntodu and ignored the alleged risk, thereby constituting a reckless disregard and

conscious deliberate indifference to his safety and well-being. This allegation, however, is not

supported by the competent summary judgment evidence, and Defendants should be granted

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summary judgment based on qualified immunity to Plaintiff’s deliberate indifference claims.

       Unlike the defendants in Boyd, the competent summary judgment evidence does not support

the conclusion that either Defendant had the requisite subjective mens rea to impute liability under

the deliberate indifference standard. Here, Joseph Oguntodu died from injuries suffered from an

assault by another inmate. Contrary to Plaintiff’s allegation, there are no indications within the

record, that (prior to the discovery of Oguntodu’ in his cell on March 7, 2019), Defendants were

aware Oguntodu was suffering from threat of harm from another inmate.

       Additionally, there are no indications that Oguntodu made any complaints of any kind

regarding his cellmate or his health at any time prior to his discovery at 6:26pm on March 7, 2019.

At approximately 5:30am, Defendant Painter started her duties on D-Pod. App at 33-34. She was

unaware of any fights occurring between Oguntodu or his cellmate. App at 51. Each time she

approached Cell 2-22, she received appropriate answers or saw activity which indicated to her, that

nothing abnormal was happening inside. Painter observed Oguntodu several times throughout her

6-hour shift. App at 66-67, 69-76. Painter would not serve inmates their meals unless they complied

with the rules, and she saw two people move. Id. Again, there was no indication, based on the

summary judgment evidence, that Oguntodu made any complaint to TDCJ staff that he was at risk

of harm, or in distress in any way during Painter’s shift. There is no evidence that Painter was aware

of any complaints made by Oguntodu. When she left the housing area at 12:56pm, Oguntodu was

alive. It wasn’t until other staff came onto the Pod to begin recreation that Oguntodu was

discovered unresponsive.

       These facts and conduct displayed by Defendants in this case are distinguishable from those

presented in Boyd. Unlike the defendants in Boyd, who were constantly advised of White’s status and


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allowed him to sit in his cell for 4 days naked while having seizures without alerting the medical

department, Defendant Painter was unfamiliar with Plaintiff prior to the evening he was discovered,

and Peterson never stopped by the cell during her shift. Neither Defendant was aware of a serious

risk of harm to Oguntodu by De La Garza, nor did either Defendant ignore an obvious risk to the

health and safety of Oguntodu that would make them culpable under the deliberate indifference

standard. There is no evidence in the EAC investigation into Oguntodu’s death indicating that

notice or warning of any type was given to any correctional staff who were present on D-Pod that

day. See Exhibit A. Correctional officers Daniel Smith and Julio Varela also made several rounds by

cell 2-22 and neither noticed anything unusual or out of the ordinary. App at 32.

        There is no evidence that Defendant Peterson drew the subjective inference that Oguntodu

was at any risk of harm. While her conduct as a correctional officer is not laudable, Peterson’s

reliance upon Officer Smith to conduct security rounds shields her from liability. According to CO

Smith, Peterson refused to conduct security rounds in D-Pod because of the nature of the inmates.

App at 5. While she did not conduct security rounds, Peterson did go by cell 2-22 once during her

shift while escorting the pill nurse, but she did not interact with anyone in cell 2-22 at that time. As a

result of her conduct, she could not have drawn the subjective inference that Oguntodu was in

danger. Peterson’s conduct resembles that of the Officers in Thompson v. Campos. At most Peterson

was negligent and that is not enough to maintain a constitutional claim. As such, there are no

genuine issues of material fact and Defendant Peterson’s motion for summary judgment based on

qualified immunity should be granted.

        Plaintiff will likely argue that Defendants Painter and Peterson’s disciplinary record from

this incident shows that their failure to follow TDCJ policy should subject them to liability under the


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deliberate indifference standard. This argument is equally ineffectual. In support of this argument,

Plaintiff will likely point to the fact that several employees including Defendant Painter and

Peterson, were disciplined for various violations of TDCJ’s policies after the investigation into

Ogntodu’s death. The fact that the Defendants may have violated an internal policy, standing alone,

is insufficient to prove they violated Oguntodu’ constitutional rights by being deliberately indifferent

to a serious risk of harm.6 Further, Plaintiff’s “failure to follow policy” argument is grounded in the

tenuous theory of what Defendants “should have done” in order to prevent Oguntodu’ death. This

argument, however, runs contrary to the law and is unsupported.

        Peterson did not observe Oguntodu at any point during her shift, as such there is no way she

developed the required mens rea to be deliberately indifferent. Although the argument seems

counterintuitive, the fact that Defendant Peterson did not conduct her duties as required by doing

security checks, further supports the conclusion that she could not have developed the required

subjective intent to be deliberately indifferent to a serious risk of harm to Oguntodu.                      For

Defendant Peterson to be liable under a theory of deliberate indifference, she would have to had

observed Oguntodu, seen that he was in serious distress, concluded that he was in serious distress,

and then chosen to ignore that distress. That simply is not present here. There is no summary

judgment evidence that shows Defendants knew Oguntodu was at risk of any harm on March 7,

2019. At worst, Defendant Peterson’s failure to conduct proper cell counts or cell checks amounts



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            Allegations that TDCJ-ID officials did not follow TDCJ-ID policy have no basis in law; the law
does not recognize a right for damages for prison officials’ negligent or even grossly negligent failure to
follow prison policy or failure to enforce rules applicable to the inmates. Thompson v. TDCJ-ID, 33 S.W.3d
412, 415 (Tex. App.—Houston [1st Dist.] 2000); Hector v. Thaler, 927 S.W.2d 95, 97-98 (Tex. App.—Houston
[1st Dist.] 1996, writ denied). An accusation that officials failed to follow their own regulations does not state
a claim under § 1983. Jackson v. Cain, 864 F.2d 1235 (5th Cir. 1989); Hernandez v. Estelle, 788 F.2d 1154 (5th
Cir. 1986).
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to negligence,7 but certainly not deliberate indifference.

        As supported by Domino, any counter-argument premised on Plaintiff’s assertion (or even

evidence) that Defendant Peterson should have known about the risk to Oguntodu by De La Garza

should fail. The argument that Defendant Peterson “faile[d] to alleviate a significant risk that [they]

should have perceived, but did not, is insufficient to show deliberate indifference.” Domino, 239 F.3d

at 756. Ultimately, Defendant Peterson was not aware of Oguntodu and De La Garza and therefore

did not develop the requisite subjective intent to impute liability under the deliberate indifference

standard. Accordingly, her motion for summary judgment should be granted.

        With respect to Painter, while Plaintiff will likely argue that she should have perceived such a

significant risk, because she did observe Oguntodu during her shift, that argument is still insufficient

to establish deliberate indifference. Painter performed her duties and observed Oguntodu several

times throughout her shift. Assuming arguendo that Oguntodu was not dead during Painter’s shift,

he did not make any complaint or warn her of any risk to his safety by his cellmate. At no point did

Painter, throughout her shift, note anything out of the ordinary for cell 2-22. Painter could not have

developed the required mens rea to be deliberately indifferent.

        Plaintiff cannot successfully argue both that Painter and Peterson were deliberately

indifferent because Oguntodu was allegedly at risk of harm during both shifts. Assuming arguendo

that Oguntodu was alive during Painter’s shift, he did not make her aware of any reason to believe



         7 In Stewart, Appellee Dr. Dial admitted Stewart to the prison hospital on 18 August 1994 to treat

grossly swollen legs, which can be indicative of congestive heart failure. After treating this condition for five
days, Dr. Dial discharged Stewart to a disability unit. The next day, Dr. Dial was advised that Stewart had a
large decubitus ulcer on his lower back. Dr. Dial ordered treatment of the ulcer by cleaning the area with
Betadine, applying sugardyne dressing, and placing Stewart on the next sick call. The Fifth Circuit held that
even though Dr. Dial treated Stewart for 5 days and didn’t notice the ulcers that ultimately killed him, at
worst, any failure by Dr. Dial to discover the ulcer earlier, to read the nurses' notes indicating Stewart's
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he was at risk of harm before she left the unit that day. If he was not alive during Peterson’s shift, at

no point did she observe Oguntodu during her shift, and she could not have known a risk of harm

existed. While Plaintiff may attempt to argue that Defendants are simultaneously deliberate

indifferent both for doing security rounds, and for not, as evidenced above, the argument does not

rise to that of constitutional violation.

        In total, the competent summary judgment evidence supports the conclusion that

Defendants Painter and Peterson were not deliberately indifferent to a serious risk of harm from

another offender. Accordingly, Defendants’ motion for summary judgment based on qualified

immunity should be granted and all claims against them should be dismissed.

                                                 VI.
                                             CONCLUSION

        ACCORDINGLY, Defendants Painter and Peterson present their motion for summary

judgment based upon qualified immunity. Defendants request that judgment be granted in their

favor and that all claims brought against them be dismissed.



                                                  Respectfully submitted,


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                                                  First Assistant Attorney General

                                                  GRANT DORFMAN
                                                  Deputy First Assistant Attorney General



incontinence or mobility problems, or to follow-up to ensure that his orders were carried out might constitute
negligence, not the requisite deliberate indifference. Stewart v. Murphy, 174 F.3d 530, 533 (5th Cir. 1999).
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                         NOTICE OF ELECTRONIC FILING

       I, BRUCE R. GARCIA, Assistant Attorney General of Texas, certify that I have

electronically submitted for filing Defendants Brief in Support of Motion for Summary

Judgment to the Court, on March 1, 2023, in the Northern District of Texas, Wichita Falls

Division.

                                         /s/ BRUCE R. GARCIA
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                               CERTIFICATE OF SERVICE
       I, BRUCE R. GARCIA, Assistant Attorney General of Texas, do hereby certify that a true

and correct copy of the above and foregoing Defendants Brief in Support of Motion for

Summary Judgment has been served via the following on March 1, 2023, to all counsel of record.


                                            /s/ BRUCE R. GARCIA
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